Case 4:21-cv-01108 Document 1-1 Filed on 04/05/21 in TXSD Page 1 of 33




                   EXHIBIT A
Case 4:21-cv-01108 Document 1-1 Filed on 04/05/21 in TXSD Page 2 of 33




                EXHIBIT A-1
       Case 4:21-cv-01108 Document 1-1 Filed on 04/05/21 in TXSD Page 3 of 33                                    3/11/2021 2:14 PM
                                                                                      Marilyn Burgess - District Clerk Harris County
                                                                                                           Envelope No. 51389380
                                  2021-14218/Court: 113                                                         By: Maria Rodriguez
                                                                                                          Filed: 3/11/2021 2:14 PM

                             CAUSE NO.

 GREAT DIVIDE INSURANCE                                               IN THE DISTRICT COURT OF
 COMPANY as subrogee of SAN
 JACINTO MUSEUM OF HISTORY
     Plaintiff

 vs.                                                                         HARRIS COU           Y, TEXAS

 INTERCONTINENTAL
 TERMINALS COMPANY, LLC
     Defendant                                                                          CIAL DISTRICT


                                   PLAINTIFF'S ORIGINAL PETIT


TO THE HONORABLE JUDGE OF SAID COURT:

         COMES
             S NOW, Plaintiff, Great Divide Insur O                           a/s/o San Jacinto Museum of

History, and files its Original Petition against           Adant, Intercontinental Terminals Company,

LLC, and would show the Court the follow

                                       DISCOV 34 CONTROL PLAN

         1.        Plaintiff intends th
                                                eovery be conducted under Level 1.
                                       0      CLAIM FOR RELIEF

         2.        Plaintiff se        n y monetary relief of $250,000 or less, excluding interest, statutory

or punitive damages al            enalties, and attorney's fees and costs.
                  .,, '
                O, ,
                                                      PARTIES

         3.       Qin Jacinto Museum of History (hereinafter "San Jacinto") is operated by the San

Jacinto MuN um of History Association and is housed at the base of the San Jacinto Monument —

a Texas landmark — located at 1 Monument Circle, LaPorte, Harris County, Texas 77571.

         4.        Plaintiff, Great Divide Insurance Company a/s/o San Jacinto Museum of History

(hereinafter "Great Divide" or "Plaintiff'), is engaged in the business of, among other things,


Plaintiff's Original Petition
Great Divide Ins. Co. aso San Jacinto Museum of History
v. Intercontinental Terminals Company, LLC                                                             Page 1 of 6
      Case 4:21-cv-01108 Document 1-1 Filed on 04/05/21 in TXSD Page 4 of 33




underwriting insurance and was authorized to conduct business in the State of Texas. As such, it

does not have a driver's license or a social security number. Great Divide's principal office in

Texas is located at 600 East Las Colinas Blvd, Suite 1400, Irving, Texas 75039.

         5.       Defendant, Intercontinental Terminals Company, LLC, (hereingT- "ITC" or

"Defendant") is a foreign corporation organized under the laws of the Stated                  laware and is

authorized to conduct business in the State of Texas. Defendant's princi                 lace of business in
                                                                       ,,,, ,
Texas is located at 1943 Independence Parkway South, LaPorte, H                      County, Texas 77536.

Defendant may be served with process by serving its registered a e              as follows:

                                            CT Corporation Systeme
                                          1999 Bryan Street, Suit01)
                                               Dallas, TX 752

         Issuance of citation is requested at this time.

                                        JURISDICTI            ND VENUE

         6.        This Court has jurisdiction c          efendant because it is a non-resident that has done

business in, and/or committed a tort, i            doe or in part, and/or has continuing contacts with Texas

and is amenable to service by a                    Court. The Court has jurisdiction over the controversy

because the damages sought aid within the jurisdictional limits of the Court.

         7.        Venue i        l   r in Harris County, Texas, because all or a substantial part of the

events or omissions            ng rise to this action occurred in Harris County, Texas, and the damages
                        O
that is the basis         is lawsuit occurred at the San Jacinto Museum of History located in LaPorte,

Harris Cou          Texas.




Plaintiff's Original Petition
Great Divide Ins. Co. aso San Jacinto Museum of History
v. Intercontinental Terminals Company, LLC                                                         Page 2 of 6
      Case 4:21-cv-01108 Document 1-1 Filed on 04/05/21 in TXSD Page 5 of 33




                                                          FACTS

         8.        At all times relevant hereto, ITC was in the business of refining, distributing and

storing petrochemicals.

         9.        On or about March 17, 2019, tank 80-8 at ITC's property lTd                                                                       at 1943

Independence Parkway, LaPorte, Harris County, Texas 77571 (hereinafter thb                                                                      Site"), failed

and caught fire.
                                                                           7•.. ..:',..: -,..,:,:%-i..,,,,,,i..,4,5.-:<-.N
                                                                        ,...v.'k.-                               ..:1.!:•,' - .:.:::•*:::::
                                                                                                                                 .. V,:i:i::i
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                                                     0)

         10.       The fire originated at 0 mp manifold connected to tank 80-8, an 80,000-barrel
                                              O
aboveground atmospheric stora                   k that held naphtha, a flammable liquid, typically used as a

feedstock or blend stock for               uction of gasoline.

         11.       ITC inj           cutane into the naphtha product using external piping and equipment
                               O
(piping manifold) t               rease the octane level of the fuel product.

         12.                  was unable to isolate or stop the release of naphtha product from the tank and

the fire c     Ved to burn, intensify, and progressively involved additional tanks in the tank farm.

         13.       The fire was extinguished on the morning of March 20, 2019.

         14.       The fire caused the release and discharge of toxic fumes and chemicals into the air.




Plaintiff's Original Petition
Great Divide Ins. Co. aso San Jacinto Museum of History
v. Intercontinental Terminals Company, LLC                                                                                                          Page 3 of 6
      Case 4:21-cv-01108 Document 1-1 Filed on 04/05/21 in TXSD Page 6 of 33




         15.       As a result of the fire and resulting discharge of toxic fumes and chemicals, San

Jacinto was forced to evacuate and close One Monument Circle, LaPorte, Texas (hereinafter the

"Loss Site"), and remained closed for three (3) months.

         16.       The fire was approximately 1.5 miles from the Loss Site.

         17.       The fire burned for three days and was not fully extinguished u               arch 20, 2019.

         18.       ITC has repeatedly and publicly admitted liability for thist iy. s and accepted full

financial responsibility for the same.

         19.       As a direct and proximate result of the chemical ttQire
                                                                       ,   loss and closure of San

Jacinto, Plaintiff's insured sustained losses in the amount of .0q83.00.

         20.       At all times relevant herein, Great Divide             d a policy of insurance to San Jacinto
                                                                   00
Museum of History that covered, inter alia, loss of                  ness income for San Jacinto.

         21.       Following this loss, San Jacinto              an insurance claim with its insurance carrier,

Great Divide Insurance Company. Pursuak                      he terms of the policy issued to San Jacinto, Great

Divide issued payment for the covere                   amages sustained as a result of this loss. Having made
                                                   0
payments to, or on behalf of its in             1, Great Divide stands in the shoes of its insured and asserts

it contractual and/or equitabl nghts of subrogation in this lawsuit. Specifically, Great Divide

seeks reimbursement fooltAoney(ies) it paid to, or on behalf of, San Jacinto in the amount of

$82,283.00 for San J           to's loss of business income incurred as a result of the fire loss made the

basis of this la

         220'he          causes of action set out below are not barred by limitations because the

discovery rule applies to Plaintiff's claims. Specifically, Defendant's wrongful acts were

inherently undiscoverable at the time they occurred and were not discovered until after the fire and

the resulting damages occurred on March 17, 2019, despite the exercise of reasonable




Plaintiff's Original Petition
Great Divide Ins. Co. aso San Jacinto Museum of History
v. Intercontinental Terminals Company, LLC                                                             Page 4 of 6
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diligence. By its nature, Defendant's wrongful acts and the resulting damages can be objectively

verified.

                                            CAUSES OF ACTION
                                          COUNT I — NEGLIGENCE

         23.       Plaintiff re-pleads, re-states and re-alleges the previous paragraphs *e         as if fully

set forth verbatim, and would show the court the following:

         24.       ITC had a duty to persons such as Plaintiff's insured to ex           e due care in the use,

maintenance, storage, filling, securing and storing of its chemica                   s and related pumps and

equipment.
                                                                            e21
         25.       The damages were caused by the negligen                  d negligent acts and omissions of

ITC as follows:

                   a. Failing to properly secure che               tanks;

                   b. Failing to properly maintai             e chemical tanks;

                   c. Failure to install or uti           an automatic fire sprinkler system;

                   d. Failure to install            lize an automatic alarm system;

                   e. Failure to               or utilize remote operated isolation valves on the pump

                       manifold       \ank 80-8; and,
                                  )
                   f. F *luivAo operate and maintain tank 80-8 in accordance with accepted industry

                            dards and practices.

         26.            above-described losses resulted solely from the negligence, carelessness, and

recklessn         f ITC.

         27.       Each of the above-referenced acts or omissions, singly and/or in combination with

others, constituted negligence, which proximately caused the damages sustained by Plaintiff,

which is in excess of the minimum jurisdictional limits of this Court.


Plaintiff's Original Petition
Great Divide Ins. Co. aso San Jacinto Museum of History
v. Intercontinental Terminals Company, LLC                                                           Page 5 of 6
      Case 4:21-cv-01108 Document 1-1 Filed on 04/05/21 in TXSD Page 8 of 33




         28.       As a direct and proximate result of the chemical tank fire, Plaintiff's insured

sustained losses in the amount of $82,283.00.

                                                     DAMAGES

         29.       Plaintiff's' damages consist of the loss of business income incurredley San Jacinto

as a result of the fire made the basis of this lawsuit.

         30.       Plaintiff's damages are $82,283.00.

                                        REQUEST FOR JURY TRIAL                   <,

         31.       Plaintiff demands a jury trial and tenders the approi6Qe fee.

         WHEREFORE, PREMISES CONSIDERED Plaintiff                              eat Divide Insurance Company

as subrogee of San Jacinto Museum of History, prays t                    efendant, Intercontinental Terminals

Company, LLC, be cited to appear and to answer h                      and that upon a final hearing, the Court

enter a judgment against Defendant and in fav                    Plaintiff for the damages prayed for herein a

sum in excess of the minimum jurisdiction(                  its of this Court, with prejudgment interest thereon

at the maximum legal rate, post-judgnmkterest at the maximum legal rate, and for such other

and further relief, both at law and              uity, to which Plaintiff may show itself justly entitled.

                                                          Respectfully submitted,

                                                          DOYEN SEBESTA & POELMA, LLLP

                                                          By:    /s/ Randall J. Poelma, Jr.
                   (s.,4s,
                       °W                                        Randall J. Poelma, Jr.
                                                                 rpoelma@ds-lawyers.com
                                                                 SBN: 24047823
                                                                 16945 Northchase Drive, Suite 1400
                                                                 Houston, TX 77060
                                                                 Phone: (713) 580-8900
                                                                 Fax: (713) 580-8910
                                                                 E-Service: rjpgroup@ds-lawyers.com
                                                                 ATTORNEY FOR PLAINTIFF
                                                                 GREAT DIVIDE INSURANCE
                                                                 COMPANY AS SUBROGEE OF SAN
                                                                 JACINTO MUSEUM OF HISTORY

Plaintiff's Original Petition
Great Divide Ins. Co. aso San Jacinto Museum of History
v. Intercontinental Terminals Company, LLC                                                            Page 6 of 6
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                EXHIBIT A-2
       Case 4:21-cv-01108 Document 1-1 Filed on 04/05/21 in TXSD Page 10 of 33                                3/17/2021 1:46 PM
                                                                                   Marilyn Burgess - District Clerk Harris County
                                                                                                        Envelope No. 51563035
                                                                                                           By: Wanda Chambers
                                                                                                       Filed: 3/17/2021 1:46 PM

                                             CAUSE NO. 2021-14218

 GREAT DIVIDE INSURANCE                                    §        IN THE DISTRICT COURT OF
 COMPANY as subrogee of SAN                                §
 JACINTO MUSEUM OF HISTORY                                 §
     Plaintiff,                                            §
                                                           §




                                                                                    k
 vs.                                                       §            HARRIS COUNTY, TEXAS




                                                                                 ler
                                                           §




                                                                              tC
 INTERCONTINENTAL                                          §
 TERMINALS COMPANY, LLC;                                   §




                                                                          ric
 NSK CORPORATION; NSK                                      §
 PRECISION AMERICA, INC.; NSK-                             §




                                                                       ist
 AKS PRECISION BALL                                        §




                                                                    sD
 COMPANY; and APPLIED                                      §
 INDUSTRIAL TECHNOLOGIES,                                  §




                                                                 es
 INC.                                                      §
      Defendants                                           §            113th JUDICIAL DISTRICT


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                                                          ily

                              PLAINTIFF’S FIRST AMENDED PETITION
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TO THE HONORABLE JUDGE OF SAID COURT:
                                                of
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         COMES NOW, Plaintiff, Great Divide Insurance Company a/s/o San Jacinto Museum of
                                       ffic




History, and files its First Amended Petition against Defendants, Intercontinental Terminals
                                   O




Company, LLC, NSK Corporation, NSK Precision America, Inc, NSK AKS Precision Ball
                                y
                             op




Company, and Applied Industrial Technologies, Inc., and would show the Court the following:
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                     ial




                                       DISCOVERY CONTROL PLAN
                 fic




         1.        Plaintiff intends that discovery be conducted under Level 1.
           of
         Un




                                              CLAIM FOR RELIEF

         2.        Plaintiff seeks only monetary relief of $250,000 or less, excluding interest, statutory

or punitive damages and penalties, and attorney’s fees and costs.




Plaintiff’s First Amended Petition
Great Divide Ins. Co. aso San Jacinto Museum of History
v. Intercontinental Terminals Company, LLC, et al.                                                 Page 1 of 17
     Case 4:21-cv-01108 Document 1-1 Filed on 04/05/21 in TXSD Page 11 of 33




                                                      PARTIES

         3.        San Jacinto Museum of History (hereinafter “San Jacinto”) is operated by the San

Jacinto Museum of History Association and is housed at the base of the San Jacinto Monument –

a Texas landmark – located at 1 Monument Circle, LaPorte, Harris County, Texas 77571.




                                                                                    k
                                                                                 ler
         4.        Plaintiff, Great Divide Insurance Company a/s/o San Jacinto Museum of History




                                                                              tC
(hereinafter “Great Divide” or “Plaintiff”), is engaged in the business of, among other things,




                                                                          ric
underwriting insurance and was authorized to conduct business in the State of Texas. As such, it




                                                                       ist
                                                                    sD
does not have a driver’s license or a social security number. Great Divide’s principal office in




                                                                 es
Texas is located at 600 East Las Colinas Blvd, Suite 1400, Irving, Texas 75039.



                                                                rg
         5.        Defendant, Intercontinental Terminals Company, LLC, (“ITC”) is a foreign
                                                               Bu
corporation organized under the laws of the State of Delaware and is authorized to conduct
                                                           n
                                                          ily

business in the State of Texas. ITC’s principal place of business in Texas is located at 1943
                                                          ar
                                                   M




Independence Parkway South, LaPorte, Harris County, Texas 77536. ITC may be served with
                                                of




process by serving its registered agent as follows:
                                            e
                                       ffic




                                            CT Corporation System
                                          1999 Bryan Street, Suite 900
                                   O




                                               Dallas, TX 75201
                                y
                             op




         Issuance of citation is requested at this time.
                         C




         6.        Defendant, NSK Corporation, (“NSK”) is a foreign corporation organized under
                     ial
                 fic




the laws of the State of Delaware and is authorized to conduct business in the State of Texas.
           of




NSK’s principal place of business is located at 4200 Goss Road, Ann Arbor, MI 48105. NSK may
         Un




be served with process by serving its registered agent as follows:

                                     Corporation Service Company d/b/a
                                        CSC-Lawyers Incorporated
                                         211 E. 7th Street, Suite 620
                                             Austin, TX 78701


Plaintiff’s First Amended Petition
Great Divide Ins. Co. aso San Jacinto Museum of History
v. Intercontinental Terminals Company, LLC, et al.                                       Page 2 of 17
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         Issuance of citation is requested at this time.

         7.        Defendant, NSK Precision America, Inc. (“NSKPA”) is a foreign corporation

organized under the laws of the State of Michigan and is authorized to conduct business in the

State of Texas. NSKPA’s principal place of business is located at 3450 Bearing Drive, Franklin,




                                                                                      k
                                                                                   ler
IN 46131. NSKPA engages in business in the State of Texas, but, upon information and belief,




                                                                                tC
does not maintain a regular place of business in the State or a designated agent for service of




                                                                            ric
process. Therefore, pursuant to Rule 108(a) of the Texas Rules of Civil Procedure and §17.044 of




                                                                         ist
                                                                      sD
the Tex. Civ. Prac. & Rem. Code, NSKPA may be served with process by serving the Texas




                                                                 es
Secretary of State. The Texas Secretary of State shall forward service to NSKPA’s president, as



                                                                rg
follows:
                                                               Bu
                                              Michael R. Stofferahn
                                                           n
                                                4200 Goss Road
                                                          ily

                                              Ann Arbor, MI 48105
                                                          ar
                                                   M




         Issuance of citation is requested at this time.
                                                of




         8.        Defendant, NSK-AKS Precision Ball Company (“NSK-AKS”) is a foreign
                                            e
                                       ffic




corporation organized under the laws of the State of Delaware and is authorized to conduct
                                   O




business in the State of Texas. NSK-AKS’ principal place of business is located at 1100A North
                                y
                             op




1st Street, Clarinda, IA 51632. NSK-AKS engages in business in the State of Texas, but, upon
                         C




information and belief, does not maintain a regular place of business in the State or a designated
                     ial
                 fic




agent for service of process. Therefore, pursuant to Rule 108(a) of the Texas Rules of Civil
           of




Procedure and §17.044 of the Tex. Civ. Prac. & Rem. Code, NSK-AKS may be served with process
         Un




by serving the Texas Secretary of State. The Texas Secretary of State shall forward service to

NSK-AKS’ registered agent, as follows

                                        Corporation Service Company
                                            251 Little Falls Drive
                                           Wilmington, DE 19808

Plaintiff’s First Amended Petition
Great Divide Ins. Co. aso San Jacinto Museum of History
v. Intercontinental Terminals Company, LLC, et al.                                        Page 3 of 17
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         Issuance of citation is requested at this time.

         9.        Defendant, Applied Industrial Technologies, Inc. (“AIT”) is a foreign corporation

organized under the laws of the State of Ohio and is authorized to conduct business in the State of




                                                                                    k
Texas. AIT’s principal place of business is located at 1 Applied Plaza, Cleveland, OH 44115-




                                                                                 ler
2519. AIT may be served with process by serving its registered agent as follows:




                                                                              tC
                                                                          ric
                                              Cogency Global, Inc.
                                           1601 Elm Street, Suite 4360




                                                                       ist
                                                Dallas, TX 75201




                                                                    sD
         Issuance of citation is requested at this time.




                                                                  es
                                        JURISDICTION AND VENUE


                                                                  rg
         10.                                                   Bu
                   This Court has jurisdiction over each Defendant because it is a non-resident that
                                                             n
has done business in, and/or committed a tort, in whole or in part, and/or has continuing contacts
                                                           ily
                                                          ar


with Texas and is amenable to service by a Texas Court. The Court has jurisdiction over the
                                                   M




controversy because the damages sought are within the jurisdictional limits of the Court.
                                                of
                                            e




         11.       Venue is proper in Harris County, Texas, because all or a substantial part of the
                                       ffic




events or omissions giving rise to this action occurred in Harris County, Texas, and the damages
                                y  O




that is the basis of this lawsuit occurred at the San Jacinto Museum of History located in LaPorte,
                             op
                         C




Harris County, Texas.
                     ial




                                                          FACTS
                 fic




         12.       At all times relevant hereto, Defendants were in the business of refining,
           of
         Un




distributing and storing petrochemicals.

         13.       On or about March 17, 2019, tank 80-8 at ITC’s property located at 1943

Independence Parkway, LaPorte, Harris County, Texas 77571 (hereinafter the “Fire Site”), failed

and caught fire.


Plaintiff’s First Amended Petition
Great Divide Ins. Co. aso San Jacinto Museum of History
v. Intercontinental Terminals Company, LLC, et al.                                        Page 4 of 17
     Case 4:21-cv-01108 Document 1-1 Filed on 04/05/21 in TXSD Page 14 of 33




                                                                                    k
                                                                                 ler
                                                                              tC
                                                                          ric
                                                                       ist
         14.       The fire originated at a pump manifold connected to tank 80-8, an 80,000-barrel




                                                                    sD
aboveground atmospheric storage tank that held naphtha, a flammable liquid, typically used as a




                                                                es
                                                                rg
feedstock or blend stock for production of gasoline.

         15.                                                   Bu
                   ITC injects butane into the naphtha product using external piping and equipment
                                                           n
                                                          ily

(piping manifold) to increase the octane level of the fuel product.
                                                          ar



         16.       NSK is a world class producer of ball and roller bearings, and linear motion
                                                   M
                                                of




products.
                                            e




         17.       NSAPK is one of the largest bearing suppliers worldwide.
                                       ffic




         18.       NSK-AKS is a global supplier of high quality, precision steel balls for many
                                y  O




markets including the automotive industry, anti-friction bearing industry, original equipment
                             op
                         C




manufactures, and other ball companies.
                     ial




         19.       AIT is a leading value-added distributor and technical solutions provider of
                 fic
           of




industrial motion, fluid power, flow control, automation technologies, and related
         Un




maintenance supplies.

         20.       Defendants were unable to isolate or stop the release of naphtha product from the

tank and the fire continued to burn, intensify, and progressively involved additional tanks in the

tank farm.


Plaintiff’s First Amended Petition
Great Divide Ins. Co. aso San Jacinto Museum of History
v. Intercontinental Terminals Company, LLC, et al.                                        Page 5 of 17
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         21.       The fire was extinguished on the morning of March 20, 2019.

         22.       The fire caused the release and discharge of toxic fumes and chemicals into the air.

         23.       As a result of the fire and resulting discharge of toxic fumes and chemicals, San

Jacinto was forced to evacuate and close One Monument Circle, LaPorte, Texas (hereinafter the




                                                                                    k
                                                                                 ler
“Loss Site”), and remained closed for three (3) months.




                                                                              tC
         24.       The fire was approximately 1.5 miles from the Loss Site.




                                                                          ric
         25.       The fire burned for three days and was not fully extinguished until March 20, 2019.




                                                                       ist
                                                                    sD
         26.       Defendants have repeatedly and publicly admitted liability for this loss and




                                                                es
accepted full financial responsibility for the same.



                                                                rg
         27.       As a direct and proximate result of the chemical tank fire loss and closure of San
                                                               Bu
Jacinto, Plaintiff’s insured sustained losses in the amount of $82,283.00.
                                                           n
                                                          ily

         28.       At all times relevant herein, Great Divide issued a policy of insurance to San Jacinto
                                                          ar
                                                   M




Museum of History that covered, inter alia, loss of business income for San Jacinto.
                                                of




         29.       Following this loss, San Jacinto filed an insurance claim with its insurance carrier,
                                            e
                                       ffic




Great Divide Insurance Company. Pursuant to the terms of the policy issued to San Jacinto, Great
                                   O




Divide issued payment for the covered damages sustained as a result of this loss. Having made
                                y
                             op




payments to, or on behalf of its insured, Great Divide stands in the shoes of its insured and asserts
                         C




it contractual and/or equitable rights of subrogation in this lawsuit. Specifically, Great Divide
                     ial
                 fic




seeks reimbursement for the money(ies) it paid to, or on behalf of, San Jacinto in the amount of
           of




$82,283.00 for San Jacinto’s loss of business income incurred as a result of the fire loss made the
         Un




basis of this lawsuit.

         30.       The causes of action set out below are not barred by limitations because the

discovery rule applies to Plaintiff’s claims. Specifically, Defendants’ wrongful acts were

inherently undiscoverable at the time they occurred and were not discovered until after the fire and

Plaintiff’s First Amended Petition
Great Divide Ins. Co. aso San Jacinto Museum of History
v. Intercontinental Terminals Company, LLC, et al.                                            Page 6 of 17
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the resulting damages occurred on March 17, 2019, despite the exercise of reasonable

diligence. By its nature, Defendants’ wrongful acts and the resulting damages can be objectively

verified.

                                           CAUSES OF ACTION




                                                                                     k
                                          COUNT I – NEGLIGENCE




                                                                                  ler
         31.       Plaintiff re-pleads, re-states and re-alleges the previous paragraphs above as if fully




                                                                               tC
                                                                           ric
set forth verbatim, and would show the court the following:




                                                                        ist
         32.       Defendants had a duty to persons such as Plaintiff’s insured to exercise due care in




                                                                     sD
the use, maintenance, storage, filling, securing and storing of its chemical tanks and related pumps




                                                                  es
and equipment.


                                                                rg
         33.                                                   Bu
                   The damages were caused by the negligence and negligent acts and omissions of
                                                           n
Defendants as follows:
                                                          ily
                                                          ar


                   a.       Failing to properly secure chemical tanks;
                                                   M




                   b.       Failing to properly maintain the chemical tanks;
                                                of
                                            e




                   c.       Failure to install or utilize an automatic fire sprinkler system;
                                       ffic




                   d.       Failure to install or utilize an automatic alarm system;
                                y  O




                   e.       Failure to install or utilize remote operated isolation valves on the pump
                             op
                         C




                            manifold for tank 80-8;
                        ial




                   f.       Failure to operate and maintain tank 80-8 in accordance with accepted
                 fic




                            industry standards and practices;
           of
         Un




                   g.       Failure to maintain a safe workplace;

                   h.       Failure to have a reliable system or device at its plant to prevent the fire or

                            adequately warn the community of the fire;

                   i.       Failure to perform work in a safe and prudent manner;


Plaintiff’s First Amended Petition
Great Divide Ins. Co. aso San Jacinto Museum of History
v. Intercontinental Terminals Company, LLC, et al.                                              Page 7 of 17
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                   j.       Failure to exercise reasonable and prudent care in the operations which were

                            occurring at the ITC plant on the dates at issue;

                   k.       Failure to implement, follow and enforce proper operations procedures;

                   l.       Failure to implement, follow and enforce proper safety procedures;




                                                                                    k
                                                                                 ler
                   m.       Failure to implement, follow, and enforce proper hazard analysis;




                                                                              tC
                   n.       Operating the Plant with institutional ignorance of or defiance to a culture




                                                                          ric
                            of safety and accountability;




                                                                       ist
                                                                    sD
                   o.       Failing to inspect and maintain the equipment associated with the refining




                                                                 es
                            storage process;



                                                                rg
                   p.       Ignoring process safety hazard data related to past incidents at the Plant;
                                                               Bu
                   q.       Causing and permitting to be caused a release of numerous toxic chemicals
                                                           n
                                                          ily

                            which resulted in a continuous toxic cloud over Deer Park, La Porte and
                                                          ar
                                                   M




                            other parts of Harris County;
                                                of




                   r.       Operating the Plant without appropriate and trained staffing and supervision
                                            e
                                        ffic




                            of Plant units;
                                   O




                   s.       Operating the Plant with equipment and processes that defy reasonable
                                y
                             op




                            engineering, industry and regulatory practices;
                         C




                   t.       Managerial acceptance or encouragement of normalized deviation from
                        ial
                 fic




                            appropriate refining storage procedures;
           of




                   u.        Failing to implement, follow, enforce and/or train regarding proper hazard
         Un




                            analysis;

                   v.       Failing to maintain a reliable system and/or device at the Plant to prevent

                            the fire;



Plaintiff’s First Amended Petition
Great Divide Ins. Co. aso San Jacinto Museum of History
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                   w.       Undertaking a conscious effort to reduce costs and staffing at the expense

                            of safety;

                   x.       Continuing to operate damaged and dysfunctional equipment at the expense

                            of safety and wellbeing of the workers at the Plant and the Deer Park, La




                                                                                     k
                                                                                  ler
                            Porte, surrounding Harris County community;




                                                                               tC
                   y.       Failing to adopt and comply with proper operating procedures;




                                                                           ric
                   z.       Improperly supervising and failing to supervise operation of the unit;




                                                                        ist
                                                                     sD
                   aa.      Ratifying and approving improper and dangerous operating procedures,




                                                                 es
                            routines and practices;



                                                                rg
                   bb.      Failing to make proper modifications and perform appropriate maintenance;
                                                               Bu
                   cc.      Failing to budget proper maintenance and required modifications,
                                                           n
                                                          ily

                            improvements and updates to the equipment and facility;
                                                          ar
                                                   M




                   dd.      Failing to properly warn and notify the neighboring residents regarding the
                                                of




                            release and emissions from prior and subsequent releasing events;
                                            e
                                       ffic




                   ee.      Failing to have a proper air monitoring network in place that could warn the
                                    O




                            surrounding communities of harmful emissions being released during the
                                y
                             op




                            fire;
                         C




                   ff.      Failing to have proper fire suppression devices to contain fires at the plant;
                        ial
                 fic




                            and
           of




                   gg.      Such other acts and omissions which may be discovered through discovery
         Un




                            and presented at trial.

         34.       The above-described losses resulted solely from the negligence, carelessness, and

recklessness of Defendants.



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         35.       Each of the above-referenced acts or omissions, singly and/or in combination with

others, constituted negligence, which proximately caused the damages sustained by Plaintiff,

which is in excess of the minimum jurisdictional limits of this Court.

         36.       As a direct and proximate result of the chemical tank fire, Plaintiff’s insured




                                                                                    k
                                                                                 ler
sustained losses in the amount of $82,283.00.




                                                                              tC
                                  COUNT II - NEGLIGENT TRAINING




                                                                          ric
         37.       Plaintiff re-alleges each and every allegation set forth above.




                                                                       ist
                                                                    sD
         38.       Defendants had a legal duty to use ordinary care in adequately training its




                                                                es
employees. Defendants failed to provide adequate training to its employees by among other things,



                                                                rg
failing to properly/adequately train its employees in supervising and assisting third parties at the
                                                               Bu
worksite and/or failing to properly/adequately train its employees in operation and maintenance of
                                                           n
                                                          ily

the Plant. A reasonably prudent employer would have provided adequate training to its employees
                                                          ar
                                                   M




beyond what was given; to the extent any training was given. As a result of its negligent training,
                                                of




Defendant's employees were negligent in their operation of the Plant.
                                            e
                                       ffic




         39.       Defendant's failure to adequately train its employees was a proximate cause of the
                                   O




injuries to the Plaintiff.
                                y
                             op




                                   COUNT III - NEGLIGENCE PER SE
                         C




         40.       All allegations herein are incorporated by reference.
                     ial
                 fic




         41.       Plaintiff re-alleges each and every allegation set forth above.
           of




         42.       Defendants' actions leading up, during and after the Incident violate Texas and
         Un




federal law (including without limitation, the Texas Clean Air Act, Chapter 382 of the Texas

Health and Safety Code, Chapter 7 of the Texas Water Code, and TCEQ rules and orders

promulgated under these statutes) which are intended to protect the public's health and safety by

regulating Plant operations, emissions and the reporting of toxic chemical emissions, releases,

Plaintiff’s First Amended Petition
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leaks and spills. Plaintiff is among those classes intended to be protected by the environmental

laws of this state and country.

         43.       As a result of these unprecedented acts and omissions by Defendants, such

violations of state law have resulted in a breach of duty to Plaintiff. The aforementioned flagrant,




                                                                                    k
                                                                                 ler
historic and continuous violations by the Defendants of state and federal laws and regulations




                                                                              tC
presents the proximate cause of Plaintiff’s damages.




                                                                          ric
                                            COUNT IV - NUSIANCE




                                                                       ist
                                                                    sD
         44.       Plaintiff re-alleges each and every allegation set forth above.




                                                                es
         45.       Plaintiff includes those who own or occupy land near the Plant during the relevant



                                                                rg
time-period. Defendants’ acts and omissions resulting in the Incident caused the Plant to be a
                                                               Bu
private and public nuisance and a nuisance per se.
                                                           n
                                                          ily

         46.       The ongoing release of chemicals and particulate matter from the Incident
                                                          ar
                                                   M




substantially trespassed upon, interfered with, and invaded the Plaintiff's use and enjoyment of its
                                                of




land, as well as the interests of those owning or occupying land in or near the Plant by Defendants’
                                            e
                                       ffic




intentional conduct, negligence, gross negligence, and negligence as a matter of law. Defendants’
                                   O




acts and omissions clearly impair the comfortable enjoyment of life and property for those who
                                y
                             op




own or occupy property near the Plant and have caused monetary repercussions to its business.
                         C




         47.       As a direct and proximate consequence of the nuisance created by Defendants,
                     ial
                 fic




Plaintiff’s insured sustained losses in the amount of $82,283.00.
           of




                                            COUNT V - TRESSPASS
         Un




         48.       Plaintiff re-alleges each and every allegation set forth above.

         49.       Plaintiff would show that Defendants, in furtherance of its business interests,

caused the aforementioned toxins to be produced and released during the conduct of their business

at the Plant during the Incident.

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         50.       Defendants, at all relevant times, negligently, recklessly or intentionally, or as a

result of the abnormally dangerous activity, caused the property of Plaintiff to be invaded by the

aforementioned toxins, causing great and substantial harm to the person, land and chattels of the

property-owning Plaintiff.




                                                                                    k
                                                                                 ler
         51.       As such, the Defendants' trespass proximately caused the injuries and damages to




                                                                              tC
Plaintiff. Accordingly, Plaintiff seeks recovery of all of its actual, special, consequential,




                                                                          ric
incidental, and other damages, harms, and losses, including cost of restoration or repair, loss of




                                                                       ist
                                                                    sD
use of land, loss of expected profits from use of land, loss of market value of land, loss of market




                                                                es
value of buildings, employee expenses and lost profits, caused by Defendants.



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         52.       As a direct and proximate result of Defendants’ trespass, Plaintiff’s insured
                                                               Bu
sustained losses in the amount of $82,283.00.
                                                           n
                                                          ily

         COUNT VI - STRICT LIABILITY FOR ULTRAHAZARDOUS ACTIVITY
                                                          ar
                                                   M




         53.       Plaintiff re-alleges each and every allegation set forth above.
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         54.       Plaintiff further alleges that the operation of the Plant (leading up to, during and
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                                       ffic




after the Incident) in its original and damaged/defective condition was extremely hazardous and
                                   O




fraught with danger and therefore, constituted an ultra-hazardous activity under Texas law.
                                y
                             op




         55.       Accordingly, Defendants are strictly liable for Plaintiff's damages proximately
                         C




caused by the release of toxic chemicals into the atmosphere in the amount of $82,283.00.
                     ial
                 fic




   COUNT VII - VICARIOUS/DERIVATIVE AND JOINT THEORIES OF LIABILITY
           of




         56.       Plaintiff re-alleges each and every allegation set forth above.
         Un




         57.       Defendants are legally responsible to Plaintiff for the negligent conduct of its vice

principals and for the negligent conduct of the Defendants’, other employees, agents, servants and

representatives under the legal doctrines of Respondeat superior, agency and/or ostensible agency

because Defendants’ vice principals and Defendants’ employees were at all times material hereto

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agents, ostensible agents, servants and/or employees of the Defendants, and were acting within the

course and scope of such agency, servitude or employment. As a result thereof, Defendants are

vicariously liable for all negligence of its vice-principals and Defendants’ other employees, agents,

servants and representatives.




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                                                                                 ler
         58.       Pleading further, and in the alternative, and without waiving the foregoing, Plaintiff




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would also show that, at all relevant times, Defendants’ vice-principals were engaged in the




                                                                          ric
performance of non-delegable duties of the business of Defendants. Further, Defendants




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authorized or ratified the conduct of its vice principals.




                                                                es
         59.       In light of the above, Defendants are liable to Plaintiff for its damages under the



                                                                rg
doctrine of Respondeat Superior, traditional principles of agency law, "vice principal" liability,
                                                               Bu
and any other applicable theory of law.
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                                                          ily

                                   COUNT VIII - RES IPSA LOQUITOR
                                                          ar
                                                   M




         60.       Plaintiff re-alleges each and every allegation set forth above.
                                                of




         61.       Plaintiff also specifically pleads the doctrine of res isa loquitor. Plaintiff would
                                            e
                                       ffic




show that the character of the Incident is such that it would not ordinarily happen in the absence
                                   O




of negligence and the acts or omissions of the equipment and personnel that led to the releases
                                y
                             op




were under the control of the Defendants, its agents, servants, employees and vice principals at all
                         C




relevant times.
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                               COUNT IX - MANAFACTURING DEFECT
           of




         62.       Plaintiff refers to and incorporates by reference each and every allegation contained
         Un




in the preceding paragraphs of this Petition as if fully restated here.

         63.       The Defendants are engaged in the business of manufacturing and placing into the

stream of commerce the bearings that caused the incident that is the subject of this litigation. As



Plaintiff’s First Amended Petition
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such, Defendants are "manufacturer[s]" as that term is defined by the Texas Civil Practice &

Remedies Code. TEX. CIV. PRAC. & REM. CODE§ 82.011(4).

         64.       Defendants manufactured the bearings and placed them into the stream of

commerce with the expectation that those bearings would, and in fact did, reach the user or




                                                                                    k
                                                                                 ler
consumer without substantial change in the condition in which the bearings were sold.




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         65.       A manufacturing defect exists when a product deviates, in its construction or




                                                                          ric
quality, from the specifications or planned output in a manner that renders it unreasonably




                                                                       ist
                                                                    sD
dangerous.




                                                                es
         66.       At the time they were placed into the stream of commerce by the Defendants, the



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bearings were in a defective condition unreasonably dangerous to the end-user.
                                                               Bu
         67.       This defective condition caused, individually or collectively with other acts and
                                                           n
                                                          ily

omissions, an unreasonably dangerous condition, including the Incident.
                                                          ar
                                                   M




         68.       The ball bearings could have reasonably been manufactured to prevent the Incident
                                                of




and harm to the communities surrounding the ITC Facility.
                                            e
                                       ffic




                                        COUNT X - DESIGN DEFECT
                                   O




         69.       Plaintiff refers to and incorporates by reference each and every allegation contained
                                y
                             op




in the preceding paragraphs of this Petition as if fully restated here.
                         C




         70.       Pleading in the alternative, to the extent that the ball bearings did not deviate from
                     ial
                 fic




their design specifications, Defendants are liable for Plaintiff’s injuries because the design of the
           of




ball bearings was defective. To recover for a products liability claim alleging a design defect, a
         Un




plaintiff must prove that (1) the product was defectively designed so as to render it unreasonably

dangerous; (2) a safer alternative design existed; and (3) the defect was a producing cause of the

injury for which the plaintiff seeks recovery.



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         71.       Defendants' design of the ball bearing was defective because it contained "internal

voids" that rendered the bearing unreasonably dangerous for its intended use. Rather than design

the bearing with internal voids, the Defendants should have utilized the solid-core design. That

this "solid core" alternative design is safer than the "internal void" design of the ball bearing is




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                                                                                 ler
demonstrated by the fact that the bearings with internal voids deteriorated and fragmented while




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the solid-core bearings did not.




                                                                          ric
         72.       Similarly, the existence and utilization of the ball bearings in the inboard bearing




                                                                       ist
                                                                    sD
demonstrates that the solid core design is both technologically and economically feasible.




                                                                es
         73.       The "internal void" design was the producing cause of Plaintiff’s injuries for the



                                                                rg
reasons previously discussed. As such, the Defendants’ defective design is the proximate cause of
                                                               Bu
Plaintiff’s insured’s sustained losses in the amount of $82,283.00.
                                                           n
                                                          ily

                         COUNT XI - ALL PRODUCT LIABILITY CLAIMS
                                                          ar
                                                   M




         74.       The allegations contained in the preceding paragraphs are hereby incorporated
                                                of




against Defendants.
                                            e
                                       ffic




         75.       Texas Civil Practice and Remedies Code Section 82.001(3) defines "seller" as "a
                                   O




person who is engaged in the business of distributing or otherwise placing, for any commercial
                                y
                             op




purpose, in the stream of commerce for use or consumption a product or any component part
                         C




thereof." As the distributors of the ball bearings that were sold to and utilized by the ITC Facility
                     ial
                 fic




Defendants are "sellers."
           of




         76.       "A seller that did not manufacture a product" may be held liable in a products
         Un




liability action for any harm caused by that product under certain circumstances. TEX. CIV.

PRAC. & REM. CODE§ 82.003. For example, if "the claimant proves ... (a)(7) that the

manufacturer of the product is ... not subject to the jurisdiction of the court," then the non-

manufacturing distributor is liable under Section 82.003(a)(7).

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         77.       As such, if the Court is unable to exercise jurisdiction over Defendants or if Plaintiff

proves any other element of Section 82.003-Defendants, are liable for Plaintiff’s injuries to the full

extent that those injuries resulted from the defective manufacturing and design of the bearings. As

such, Defendants’ selling of the defective products is the proximate cause of Plaintiff’s injuries.




                                                                                     k
                                                                                  ler
         78.       Additionally, liability as a non-manufacturing distributor for Defendants may exist




                                                                               tC
under other parts of Section 82.003. As stated below, Plaintiff retains it right to supplement this




                                                                           ric
pleading after further discovery.




                                                                        ist
                                                                     sD
                                                     DAMAGES




                                                                 es
         79.       Plaintiff’s’ damages consist of the loss of business income incurred by San Jacinto



                                                                rg
as a result of the fire made the basis of this lawsuit.
                                                               Bu
         80.       Plaintiff’s damages are $82,283.00.
                                                           n
                                                          ily

                                        REQUEST FOR JURY TRIAL
                                                          ar
                                                   M




         81.       Plaintiff demands a jury trial and has tendered the appropriate fee.
                                                of




         WHEREFORE, PREMISES CONSIDERED Plaintiff, Great Divide Insurance Company
                                            e
                                       ffic




as subrogee of San Jacinto Museum of History, prays that Defendants, Intercontinental Terminals
                                   O




Company, LLC, NSK Corporation, NSK Precision America, Inc, NSK AKS Precision Ball
                                y
                             op




Company, and Applied Industrial Technologies, Inc., be cited to appear and to answer herein, and
                         C




that upon a final hearing, the Court enter a judgment against each Defendant and in favor of
                     ial
                 fic




Plaintiff for the damages prayed for herein a sum in excess of the minimum jurisdictional limits
           of




of this Court, with prejudgment interest thereon at the maximum legal rate, post-judgment interest
         Un




at the maximum legal rate, and for such other and further relief, both at law and in equity, to which

Plaintiff may show itself justly entitled.




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                                                          Respectfully submitted,

                                                          DOYEN SEBESTA & POELMA, LLLP

                                                          By:    /s/ Randall J. Poelma, Jr.
                                                                 Randall J. Poelma, Jr.
                                                                 rpoelma@ds-lawyers.com




                                                                                          k
                                                                 SBN: 24047823




                                                                                       ler
                                                                 16945 Northchase Drive, Suite 1400
                                                                 Houston, TX 77060




                                                                                    tC
                                                                 Phone: (713) 580-8900




                                                                                ric
                                                                 Fax: (713) 580-8910
                                                                 E-Service: rjpgroup@ds-lawyers.com




                                                                             ist
                                                                 ATTORNEY FOR PLAINTIFF




                                                                          sD
                                                                 GREAT DIVIDE INSURANCE
                                                                 COMPANY AS SUBROGEE OF SAN




                                                                       es
                                                                 JACINTO MUSEUM OF HISTORY



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Plaintiff’s First Amended Petition
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                 EXHIBIT A-3
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                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                  Envelope No. 52109880
                                                                                                        By: Devanshi Patel
                                                                                                  Filed: 4/5/2021 9:56 AM

                                      CAUSE NO. 2021-14218

GREAT DIVIDE INSURANCE                           §          IN THE DISTRICT COURT OF
COMPANY, as subrogee of SAN JACINTO              §
MUSEUM OF HISTORY,                               §
                                                 §
               Plaintiff,                        §
                                                 §
v.                                               §
                                                 §           HARRIS COUNTY, TEXAS
INTERCONTINENTAL TERMINALS                       §
COMPANY LLC; NSK CORPORATION;                    §
NSK PRECISION AMERICA, INC.; NSK-                §
AKS PRECISION BALL COMPANY; and                  §
APPLIED INDUSTRIAL                               §
TECHNOLOGIES, INC.,                              §
                                                 §
               Defendants.                       §            113th JUDICIAL DISTRICT

         DEFENDANT INTERCONTINENTAL TERMINALS COMPANY LLC’S
            MOTION TO TRANSFER VENUE AND, SUBJECT THERETO,
                          ORIGINAL ANSWER

               Defendant Intercontinental Terminals Company LLC (“Defendant”) files its

Motion to Transfer Venue and, subject thereto, Original Answer to Plaintiff’s First Amended

Petition (the “Petition”).

                               I.       Motion to Transfer Venue

               Pursuant to Rule 257 of the Texas Rules of Civil Procedure, Defendant

respectfully requests that venue for this action be transferred from Harris County to another

county of proper venue under the Texas Civil Practice and Remedies Code. Defendant will

supplement the record with a brief in support of its motion and necessary affidavit upon

completion of sufficient discovery.

                                      II.    General Denial

               Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally

denies the allegations and claims set forth in Plaintiff’s Petition and demands strict proof thereof
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by a preponderance of the credible evidence, as required by the Constitution and laws of the

State of Texas.

                            III.    Defenses and Affirmative Defenses

                  1.    Plaintiff fails to state a claim upon which relief can be granted.

                  2.    Plaintiff’s claims are barred because Plaintiff lacks standing to bring, in

whole or in part, the claims alleged in the Petition.

                  3.    Plaintiff’s claims are barred in whole or in part by the economic loss rule

under applicable law.

                  4.    Defendant asserts the defense of contributory or comparative negligence

to the extent that the damages and injuries alleged in Plaintiff’s Petition were legally and

proximately caused, in whole or in part, by the negligence, fault, negligence per se, and other

culpable conduct of other persons or parties who failed to exercise the requisite degree of care

and caution, entitling Defendant to have the Court and jury apply the doctrine of comparative

negligence established by Tex. Civ. Prac. & Rem. Code § 33.001 et seq. to reduce any judgment

against it by the degree of negligence or fault attributable to any other person, party, or

responsible third party.

                  5.    Defendant asserts the defense of superseding or intervening cause to the

extent that the damages and injuries alleged in Plaintiff’s Petition were legally and proximately

caused by separate and independent events or agencies that were not the result of Defendant’s

actions or reasonably foreseeable to Defendant or within its control.

                  6.    Defendant denies that the alleged injuries of Plaintiff were proximately

caused by any alleged act or omission of Defendant.

                  7.    As an affirmative defense, the evidence may show that one or more claims

of Plaintiff are barred in whole or in part by the failure to mitigate damages.


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               8.      As an affirmative defense, the evidence may show that one or more of

Plaintiff’s claims are barred in whole or in part by the doctrine of waiver.

               9.      All conduct and activities of Defendant, as alleged in the Petition,

conformed to applicable statutes, government regulations, government-issued permits, and

industry standards based upon the state of knowledge at the time alleged in the Petition and/or

were taken at the specific direction of or in conjunction with or with approval or ratification by

federal, state, and/or local governmental authorities.

               10.     Alternatively, should any amount be cast against Defendant in judgment,

Defendant is entitled to a credit and off-set for any and all payments made to Plaintiff for any

purpose arising out of the incident and/or claims made the subject of this litigation, including,

but not limited to, settlement credits.

               11.     Defendant reserves the right to assert other affirmative defenses, cross-

claims, and designations of responsible third parties as discovery proceeds.

                                      IV.     Right to Amend

               Defendant reserves the right to amend this Answer.

                                      V.     Request for Jury

               Defendant requests a trial by jury and will pay the required fee in accordance with

the deadlines imposed by the Texas Rules of Civil Procedure.

                                            VI.   Prayer

               Defendant requests that this Court, after trial or final hearing of this case, enter

judgment in Defendant’s favor, that Plaintiff take nothing by reason of this suit, and that the

Court award Defendant its costs of court and expenses and all other relief to which it is entitled.




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                                Respectfully submitted,

                                BAKER BOTTS L.L.P.

                                By: /s/ Russell C. Lewis
                                      Russell C. Lewis
                                      Texas Bar No. 24036968
                                      Michael S. Goldberg
                                      Texas Bar No. 08075800
                                      Benjamin Gonsoulin
                                      Texas Bar No. 24099682
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                                PHELPS DUNBAR LLP

                                By: /s/ Ivan M. Rodriguez
                                      Ivan M. Rodriguez
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                                      Marc G. Matthews
                                      Texas Bar No. 24055921
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                                ATTORNEYS FOR DEFENDANT
                                INTERCONTINENTAL TERMINALS
                                COMPANY LLC




                                   5
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                               CERTIFICATE OF SERVICE

               This certifies that a copy of the above and foregoing was sent by electronic mail
to the following counsel of record on this 5th day of April, 2021:

Randall J. Poelma, Jr.
Doyen Sebesta & Poelma, LLLP
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Attorneys for Plaintiff



                                            /s/ Russell C. Lewis
                                            Russell C. Lewis




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